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                                                    THE HONORABLE JOHN C. COUGHENOUR
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                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9    UNITED STATES OF AMERICA,                         CASE NO. CR20-0171-JCC
10                          Plaintiff,                  MINUTE ORDER
11           v.

12    WOBIAO LEI,

13                          Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court on Defendant’s motion to substitute counsel (Dkt.
18   No. 73). Having thoroughly considered the motion and the relevant record, the Court hereby
19   GRANTS the motion. Dennis Carroll may withdraw and Bethany Mito and Steven Kim may act
20   as new counsel for Defendant.
21          DATED this 9th day of November 2020.
22                                                        William M. McCool
                                                          Clerk of Court
23

24                                                        s/Paula McNabb
                                                          Deputy Clerk
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